             Case 3:22-cv-00178-SDD-SDJ             Document 107-1         07/12/23 Page 1 of 11


Prouty, Erika Dackin

From:                          Sarah Brannon <sbrannon@aclu.org>
Sent:                          Thursday, June 29, 2023 2:31 PM
To:                            McKnight, Katherine L.; Phil Gordon; Thomas-Lundborg, Alora; Stanko, Andrew;
                               Knehans, Dakota; Margulis, David; Dayle Chung; Dayton Campbell-Harris; McDonald,
                               Hallie; Jared Evans; Erickson, Jessica; External - John Adcock; Bahn, Josephine M.; Luis
                               Manuel Rico Román; Megan Keenan; mdeleeuw@cozen.com; Engle-Hardy, Noelle; Nora
                               Ahmed; rsoloman@cozen.com; Ron Wilson; Greenwood, Ruth; Ruth Greenwood; Sara
                               Rohani; Stuart Naifeh; Victoria Wenger; Greenwood, Ruth
Cc:                            Giglio, Amanda; Prouty, Erika Dackin; WaleJ@ag.louisiana.gov;
                               alyssa.riggins@nelsonmullins.com; JonesCar@ag.louisiana.gov;
                               phil.strach@nelsonmullins.com; tom.farr@nelsonmullins.com;
                               cassie.holt@nelsonmullins.com; BoutteM@ag.louisiana.gov; JamesM@ag.louisiana.gov;
                               MurrillE@ag.louisiana.gov; BarbalichL@ag.louisiana.gov; WilliamsM@ag.louisiana.gov;
                               john@scwllp.com; FreelA@ag.louisiana.gov; kimk@scwllp.com; Mengis, Michael W.;
                               Sauceda, Carol; Braden, E. Mark; Raile, Richard; Lewis, Patrick T.; Jason Torchinsky;
                               Andrew Pardue
Subject:                       Re: Nairne, et al. v. Ardoin, et al., No. 22-cv-178 - Proposed Pre-Trial Schedule




Sorry to not get back to you sooner. You should go ahead and submit your filing. We are not going to come to
an agreement and we plan to submit our own filing shortly.

We appreciate the Defendants proposed adjustments to the schedule in this matter. But we still think the 6
weeks that Defendants are now requesting to prepare their expert reports is too long and unnecessary. And
therefore, we think we will need to take this issue up with the Magistrate today.

As to the election data, assumed we were discussing election data as opposed to just election results – it is my
understanding that just the election results have very little relevancy in this matter. Additionally, Plaintiffs
have considered Defendants’ proposal that the parties be allowed to supplemental expert reports with data
from the October 14, 2023 and Nov. 18, 2023 elections. Plaintiffs opposed this request. This would be weeks,
if not well over a month, after the close of expert discovery, which under the Defendants proposed schedule
would be Sept. 29, 2023. And in the case of the Nov. 18, 2023 election, less than ten days before trial.
Plaintiffs do not think it is feasible in this time period for the data to be made available, analyzed and
appropriately disclosed to opposing counsel before trial. Furthermore, this additional data is not necessary.
There is other recent election data available currently to all parties. This is also something we should discuss
with the Magistrate.


thanks
Sarah


From: Sarah Brannon <sbrannon@aclu.org>
Sent: Thursday, June 29, 2023 2:05 PM
To: McKnight, Katherine L. <kmcknight@bakerlaw.com>; Phil Gordon <pgordon@HoltzmanVogel.com>; Thomas-
Lundborg, Alora <tthomaslundborg@law.harvard.edu>; Stanko, Andrew <astanko@cozen.com>; Knehans, Dakota


                                                                                         EXHIBIT A
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              Case 3:22-cv-00178-SDD-SDJ            Document 107-1        07/12/23 Page 2 of 11
<dknehans@cozen.com>; Margulis, David <dmargulis@cozen.com>; Dayle Chung <dchung@naacpldf.org>; Dayton
Campbell-Harris <DCampbell-Harris@aclu.org>; McDonald, Hallie <hmcdonald@cozen.com>; Jared Evans
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hardy@cozen.com>; Nora Ahmed <Nahmed@laaclu.org>; rsoloman@cozen.com <rsoloman@cozen.com>; Ron Wilson
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Wenger <vwenger@naacpldf.org>; Greenwood, Ruth <rgreenwood@law.harvard.edu>
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<FreelA@ag.louisiana.gov>; kimk@scwllp.com <kimk@scwllp.com>; Mengis, Michael W. <mmengis@bakerlaw.com>;
Sauceda, Carol <csauceda@bakerlaw.com>; Braden, E. Mark <MBraden@bakerlaw.com>; Raile, Richard
<rraile@bakerlaw.com>; Lewis, Patrick T. <plewis@bakerlaw.com>; Jason Torchinsky
<jtorchinsky@HoltzmanVogel.com>; Andrew Pardue <apardue@HoltzmanVogel.com>
Subject: Re: Nairne, et al. v. Ardoin, et al., No. 22-cv-178 - Proposed Pre-Trial Schedule




We are conferring now and should be able to get back to you shortly.

From: McKnight, Katherine L. <kmcknight@bakerlaw.com>
Sent: Thursday, June 29, 2023 1:50 PM
To: Sarah Brannon <sbrannon@aclu.org>; Phil Gordon <pgordon@HoltzmanVogel.com>; Thomas-Lundborg, Alora
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               Case 3:22-cv-00178-SDD-SDJ                Document 107-1          07/12/23 Page 3 of 11
<jtorchinsky@HoltzmanVogel.com>; Andrew Pardue <apardue@HoltzmanVogel.com>
Subject: RE: Nairne, et al. v. Ardoin, et al., No. 22-cv-178 - Proposed Pre-Trial Schedule

Counsel,

We write to follow up regarding our e-mail this morning about a proposed schedule in the Nairne matter. We have not
yet heard from you and appreciate that coordination takes time but believe it would be helpful to the Court to have a
proposal before the conference this afternoon. We intend to file the attached by 1:30pm Central to put forward
Defendants’ proposal for the Court’s consideration. We have included Plaintiffs’ June 27 proposed dates in this filing so
that the Court can have both proposals before it. However, if you prefer that we remove Plaintiffs’ June 27 proposed
dates or edit them in any way to reflect an updated proposal we are happy to do so.

Could you please let us know what you prefer? If we do not hear from you, we will plan to file this as is.

Thanks very much,

Kate


Katherine L. McKnight
Partner


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                Case 3:22-cv-00178-SDD-SDJ               Document 107-1          07/12/23 Page 4 of 11
<apardue@HoltzmanVogel.com>
Subject: RE: Nairne, et al. v. Ardoin, et al., No. 22-cv-178 - Proposed Pre-Trial Schedule

Counsel,

Thank you for your time yesterday afternoon. Following are updates on Defendants’ positions on two items.

First: Proposed Schedule. We heard your concerns about timing and have adjusted dates in the following proposal to
address concerns raised by Plaintiffs (see column titled Defendants’ Meet and Confer Proposal). This adjusted proposal
allows more time to conduct expert depositions than the original scheduling order and also ensures the same amount of
time to depose fact witnesses (3 weeks). This also builds in time in October between the end of expert discovery and
pre-trial deadlines. We made the following adjustments:

    1. Moved Defendants’ expert disclosure and reports a week earlier, respectively.
    2. Delayed the exchange of witness lists by a few days so it post-dates the exchange of Defendants’ expert reports
       and limited it to “Fact Witnesses.” We added an additional date for Expert Witness lists due on the same date
       as the final expert witness reports are exchanged; an Expert Witness List may not be necessary but we wanted
       to accommodate what we understood to be your interest in exhibit list exchanges prior to the time for
       depositions.
    3. Matched Plaintiffs’ proposals for the last three dates leading up to trial.
    4. Combined the due date for expert-related motions with the due date for Daubert motions.

Please let us know your position on this proposal so we can determine whether further narrowing is possible and to
prepare for this afternoon’s conference with the Court.


                                                                          Time Between Events in      Plaintiffs’    Defendant
                        Event                           Before Stay
                                                                           First Scheduling Order   6/27 Proposal        Propos

 Plaintiffs’ Expert Reports                               7/22/2022                                    6/30/2023           6/3
 Defendants Expert Disclosures                              9/2/2022 6 weeks after P reports            7/6/2023           8/1
 Defendants Expert Reports                                  9/9/2022 7 weeks after P reports           7/21/2023           8/1
 Exchange Fact Witness Lists                             No date set                                   8/10/2023           8/1
 Plaintiffs’ Rebuttal Expert Disclosures                 No date set                                   7/25/2023           8/2
 Plaintiffs’ Rebuttal Expert Reports                      9/23/2022 2 weeks after D reports             8/4/2023            9/
 Defendants’ Sur-Rebuttal Expert Disclosure              No date set                                    8/8/2023            9/
 Fact discovery close and file related motions           10/17/2022                                    8/31/2023           8/3
 Defendants’ Sur-Rebuttal Expert Reports                  10/7/2022 2 weeks after P reports            8/11/2023           9/1
 Exchange Expert Witness Lists                           No date set
 Expert discovery close                                  10/21/2022 2 weeks after surrebuttals         9/22/2023           9/2

 Dispositive & Daubert & Expert-related motions
                                                         10/28/2022 1 week later                       9/29/2023           10/
 File pre-trial order                                    No date set                                  10/20/2023          10/2
 Proposed findings of fact & conclusions of law          12/12/2022     5 weeks prior to trial        10/27/2023          10/2
 Pre-trial conference                                    12/19/2022 4 weeks prior to trial             11/2/2023          10/3
 Trial briefs                                            12/23/2022 3 weeks prior to trial            11/13/2023           11/
 Trial scheduled to begin                                 1/17/2023                                   11/27/2023          11/2


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Second: Rebuttal and sur-rebuttal expert disclosures. We can agree to including these dates under the same
parameters as defined in the original scheduling order (Dkt. 66). Specifically:
       “Second, the parties discussed at length their positions on the appropriateness, timing, and scope of rebuttal
       experts. (R. Doc. 52 at 4, 5, 7).Ultimately, the parties agreed that Plaintiffs would be able to “introduce[e] new
       experts at the rebuttal stage” but only “to rebut expert testimony” offered by Defendant and Intervenors “on
       topics not covered by Plaintiffs’ initial slate of experts.” (R. Doc. 52 at 7). Defendant and Intervenors can then
       offer sur-rebuttal expert reports, but any surrebuttal by Defendant and Intervenors would be limited to those
       experts first identified by Plaintiffs “at the rebuttal stage.” (R. Doc. 52 at 5, 7). Therefore, the Court has included
       an additional deadline for Defendant and Intervenors to provide sur-rebuttal expert reports.”

We look forward to Plaintiffs’ position on election data. To be clear, we view the issue of election data (and whether
data can be available for expert analysis in a timely manner) as distinct from election results (identification of which
candidate won or lost a specific election). We trust this is in alignment with Plaintiffs’ understanding based on a
comment by Sarah during our call but please let us know if not.

Kate


Katherine L. McKnight
Partner




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                        Case 3:22-cv-00178-SDD-SDJ                Document 107-1         07/12/23 Page 6 of 11
         Patrick T. <plewis@bakerlaw.com>; Jason Torchinsky <jtorchinsky@HoltzmanVogel.com>; Andrew Pardue
         <apardue@HoltzmanVogel.com>
         Subject: RE: Nairne, et al. v. Ardoin, et al., No. 22-cv-178 - Proposed Pre-Trial Schedule

         Counsel,

         We look forward to our meet and confer later today. For now, we wanted to offer the following proposal which aligns
         with the amount of time afforded the parties in the original scheduling order. We can agree to Plaintiffs’ proposed
         dates related to fact discovery but view the original time between events related to expert discovery as necessary in this
         case.

         In addition to the proposed schedule, we would like discuss the following during our meet and confer:

             1. Fall 2023 Election Data: we expect that Parties may want to make use of election data from October 14 and
                November 18 elections and we would like to protect the Parties’ right to do so to the extent possible given the
                tight timeframe.

             2. Supplemental Interrogatories: we understand your proposal for condensing response deadlines for
                supplemental interrogatories to 14 days and can agree to this shift as long as it applies to all parties.

             3. Written Discovery Responses by Parties: the Secretary of State and the Attorney General have outstanding
                written discovery requests that they served on Plaintiffs last year. At the time the case was stayed, Plaintiffs had
                3 days remaining to respond to the SOS written discovery and 11 days to respond to the AG written
                discovery. We propose that Plaintiffs serve responses to these written discovery requests within 3 and 11 days
                of tomorrow’s Status Conference: Monday, July 3, 2023 (adding a day for next business day), for response to
                SOS written discovery and Monday, July 11, 2023, for response to AG written discovery.


                                                           Time Between Events in          Plaintiffs’      Defendants’       Time Betwee
        Event                             Before Stay
                                                            First Scheduling Order       6/27 Proposal     6/28 Proposal     Defendants’ 6/

ert Reports                                 7/22/2022                                       6/30/2023          6/30/2023
ness Lists                                 No date set                                      8/10/2023          8/10/2023    21 days before d
xpert Disclosures                            9/2/2022    6 weeks after P reports             7/6/2023          8/11/2023    6 weeks after P r
xpert Reports                                9/9/2022    7 weeks after P reports            7/21/2023          8/18/2023    7 weeks after P r
uttal Expert Disclosures                   No date set                                      7/25/2023          8/22/2023
 close and file related motions            10/17/2022                                       8/31/2023          8/31/2023
uttal Expert Reports                        9/23/2022    2 weeks after D reports             8/4/2023           9/1/2023    2 weeks after D r
ur-Rebuttal Expert Disclosure              No date set                                       8/8/2023           9/5/2023
ur-Rebuttal Expert Reports                  10/7/2022    2 weeks after P reports            8/11/2023          9/15/2023    2 weeks after P r
ery close and file related motions         10/21/2022    2 weeks after surrebuttals         9/22/2023          9/29/2023    2 weeks after sur
Daubert motions                            10/28/2022    1 week later                       9/29/2023          10/6/2023    1 week later
 rder                                      No date set                                     10/20/2023         10/20/2023
ings of fact & conclusions of law          12/12/2022    5 weeks prior to trial            10/27/2023         10/23/2023    5 weeks prior to
 rence                                     12/19/2022    4 weeks prior to trial             11/2/2023         10/30/2023    4 weeks prior to
                                           12/23/2022    3 weeks prior to trial            11/13/2023          11/6/2023    3 weeks prior to
d to begin                                  1/17/2023                                      11/27/2023         11/27/2023

         We look forward to discussing.

                                                                       6
               Case 3:22-cv-00178-SDD-SDJ              Document 107-1        07/12/23 Page 7 of 11
Kate

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<csauceda@bakerlaw.com>; Braden, E. Mark <MBraden@bakerlaw.com>; Raile, Richard <rraile@bakerlaw.com>; Lewis,
Patrick T. <plewis@bakerlaw.com>; Jason Torchinsky <jtorchinsky@HoltzmanVogel.com>; Andrew Pardue
<apardue@HoltzmanVogel.com>
Subject: RE: Nairne, et al. v. Ardoin, et al., No. 22-cv-178 - Proposed Pre-Trial Schedule

Sarah,

Thank you for your e-mail. Counsel for Defendants will be available to meet and confer this afternoon between 2pm
and 4pm (Central)/3pm and 5pm (Eastern) and will look to circulate a proposal before we talk.

Would you pick a time in that window that works for your team and circulate a dial in?

Thanks,

Kate




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               Case 3:22-cv-00178-SDD-SDJ              Document 107-1          07/12/23 Page 8 of 11
Katherine L. McKnight
Partner




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From: Sarah Brannon <sbrannon@aclu.org>
Sent: Tuesday, June 27, 2023 12:08 PM
To: Phil Gordon <pgordon@HoltzmanVogel.com>; Thomas-Lundborg, Alora <tthomaslundborg@law.harvard.edu>;
Stanko, Andrew <astanko@cozen.com>; Knehans, Dakota <dknehans@cozen.com>; Margulis, David
<dmargulis@cozen.com>; Dayle Chung <dchung@naacpldf.org>; Dayton Campbell-Harris <DCampbell-Harris@aclu.org>;
McDonald, Hallie <hmcdonald@cozen.com>; Jared Evans <jevans@naacpldf.org>; Erickson, Jessica
<jerickson@cozen.com>; External - John Adcock <jnadcock@gmail.com>; Bahn, Josephine M. <jbahn@cozen.com>; Luis
Manuel Rico Román <LRoman@aclu.org>; Megan Keenan <MKeenan@aclu.org>; mdeleeuw@cozen.com; Engle-Hardy,
Noelle <nengle-hardy@cozen.com>; Nora Ahmed <Nahmed@laaclu.org>; rsoloman@cozen.com; Ron Wilson
<cabral2@aol.com>; Greenwood, Ruth <rgreenwood@law.harvard.edu>; Ruth Greenwood
<greenwood@law.harvard.edu>; Sara Rohani <srohani@naacpldf.org>; Stuart Naifeh <snaifeh@naacpldf.org>; Victoria
Wenger <vwenger@naacpldf.org>; Greenwood, Ruth <rgreenwood@law.harvard.edu>
Cc: Giglio, Amanda <agiglio@cozen.com>; Prouty, Erika Dackin <eprouty@bakerlaw.com>; WaleJ@ag.louisiana.gov;
alyssa.riggins@nelsonmullins.com; McKnight, Katherine L. <kmcknight@bakerlaw.com>; JonesCar@ag.louisiana.gov;
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BoutteM@ag.louisiana.gov; JamesM@ag.louisiana.gov; MurrillE@ag.louisiana.gov; BarbalichL@ag.louisiana.gov;
WilliamsM@ag.louisiana.gov; john@scwllp.com; FreelA@ag.louisiana.gov; kimk@scwllp.com; Mengis, Michael W.
<mmengis@bakerlaw.com>; Sauceda, Carol <csauceda@bakerlaw.com>; Braden, E. Mark <MBraden@bakerlaw.com>;
Raile, Richard <rraile@bakerlaw.com>; Lewis, Patrick T. <plewis@bakerlaw.com>; Jason Torchinsky
<jtorchinsky@HoltzmanVogel.com>; Andrew Pardue <apardue@HoltzmanVogel.com>
Subject: Re: Nairne, et al. v. Ardoin, et al., No. 22-cv-178 - Proposed Pre-Trial Schedule

[External Email: Use caution when clicking on links or opening attachments.]
Counsel,

As you are aware, we have a scheduling conference in this matter set now for Thursday, June 29, 2023 at 3:00
pm CT before Magistrate Judge Scott D. Johnson. In anticipation of that conference and to facilitate
productive conversations about the schedule in this case, we have drafted a proposed schedule, which is
attached here. And we request to meet and confer with you all to discuss our proposal before the conference
with Magistrate Judge Johnson. Plaintiffs' counsel can be available on Weds, June 28 th for a meet and
confer. Please let us know what time would work best for you all.

Thank-you,
Sarah

                                                           8
              Case 3:22-cv-00178-SDD-SDJ            Document 107-1       07/12/23 Page 9 of 11
From: Sarah Brannon <sbrannon@aclu.org>
Sent: Tuesday, June 20, 2023 11:57 AM
To: Phil Gordon <pgordon@HoltzmanVogel.com>; Thomas-Lundborg, Alora <tthomaslundborg@law.harvard.edu>;
Stanko, Andrew <astanko@cozen.com>; Knehans, Dakota <dknehans@cozen.com>; Margulis, David
<dmargulis@cozen.com>; Dayle Chung <dchung@naacpldf.org>; Dayton Campbell-Harris <DCampbell-Harris@aclu.org>;
McDonald, Hallie <hmcdonald@cozen.com>; Jared Evans <jevans@naacpldf.org>; Erickson, Jessica
<jerickson@cozen.com>; External - John Adcock <jnadcock@gmail.com>; Bahn, Josephine M. <jbahn@cozen.com>; Luis
Manuel Rico Román <LRoman@aclu.org>; Megan Keenan <MKeenan@aclu.org>; mdeleeuw@cozen.com
<mdeleeuw@cozen.com>; Engle-Hardy, Noelle <nengle-hardy@cozen.com>; Nora Ahmed <Nahmed@laaclu.org>;
rsoloman@cozen.com <rsoloman@cozen.com>; Ron Wilson <cabral2@aol.com>; Greenwood, Ruth
<rgreenwood@law.harvard.edu>; Ruth Greenwood <greenwood@law.harvard.edu>; Sara Rohani
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Greenwood, Ruth <rgreenwood@law.harvard.edu>
Cc: Giglio, Amanda <agiglio@cozen.com>; Prouty, Erika Dackin <eprouty@bakerlaw.com>; WaleJ@ag.louisiana.gov
<WaleJ@ag.louisiana.gov>; alyssa.riggins@nelsonmullins.com <alyssa.riggins@nelsonmullins.com>; McKnight, Katherine
L. <kmcknight@bakerlaw.com>; JonesCar@ag.louisiana.gov <JonesCar@ag.louisiana.gov>;
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FreelA@ag.louisiana.gov <FreelA@ag.louisiana.gov>; kimk@scwllp.com <kimk@scwllp.com>; Mengis, Michael W.
<mmengis@bakerlaw.com>; Sauceda, Carol <csauceda@bakerlaw.com>; Braden, E. Mark <MBraden@bakerlaw.com>;
Raile, Richard <rraile@bakerlaw.com>; Lewis, Patrick T. <plewis@bakerlaw.com>; Jason Torchinsky
<jtorchinsky@HoltzmanVogel.com>; Andrew Pardue <apardue@HoltzmanVogel.com>
Subject: Re: Nairne, et al. v. Ardoin, et al., No. 22-cv-178


Sorry for the oversight. We will make sure to include these individuals in all future correspondence.

Sarah

From: Phil Gordon <pgordon@HoltzmanVogel.com>
Sent: Tuesday, June 20, 2023 11:32 AM
To: Thomas-Lundborg, Alora <tthomaslundborg@law.harvard.edu>; Stanko, Andrew <astanko@cozen.com>; Knehans,
Dakota <dknehans@cozen.com>; Margulis, David <dmargulis@cozen.com>; Dayle Chung <dchung@naacpldf.org>;
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<jevans@naacpldf.org>; Erickson, Jessica <jerickson@cozen.com>; External - John Adcock <jnadcock@gmail.com>;
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<MKeenan@aclu.org>; mdeleeuw@cozen.com <mdeleeuw@cozen.com>; Engle-Hardy, Noelle <nengle-
hardy@cozen.com>; Nora Ahmed <Nahmed@laaclu.org>; rsoloman@cozen.com <rsoloman@cozen.com>; Ron Wilson
<cabral2@aol.com>; Greenwood, Ruth <rgreenwood@law.harvard.edu>; Ruth Greenwood
<greenwood@law.harvard.edu>; Sara Rohani <srohani@naacpldf.org>; Stuart Naifeh <snaifeh@naacpldf.org>; Victoria
Wenger <vwenger@naacpldf.org>; Greenwood, Ruth <rgreenwood@law.harvard.edu>; Sarah Brannon
<sbrannon@aclu.org>
Cc: Giglio, Amanda <agiglio@cozen.com>; Prouty, Erika Dackin <eprouty@bakerlaw.com>; WaleJ@ag.louisiana.gov
<WaleJ@ag.louisiana.gov>; alyssa.riggins@nelsonmullins.com <alyssa.riggins@nelsonmullins.com>; McKnight, Katherine
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<tom.farr@nelsonmullins.com>; cassie.holt@nelsonmullins.com <cassie.holt@nelsonmullins.com>;
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MurrillE@ag.louisiana.gov <MurrillE@ag.louisiana.gov>; BarbalichL@ag.louisiana.gov <BarbalichL@ag.louisiana.gov>;
                                                        9
                                                                                                                                                                  Case 3:22-cv-00178-SDD-SDJ                                                                                            Document 107-1           07/12/23 Page 10 of 11
WilliamsM@ag.louisiana.gov <WilliamsM@ag.louisiana.gov>; john@scwllp.com <john@scwllp.com>;
FreelA@ag.louisiana.gov <FreelA@ag.louisiana.gov>; kimk@scwllp.com <kimk@scwllp.com>; Mengis, Michael W.
<mmengis@bakerlaw.com>; Sauceda, Carol <csauceda@bakerlaw.com>; Braden, E. Mark <MBraden@bakerlaw.com>;
Raile, Richard <rraile@bakerlaw.com>; Lewis, Patrick T. <plewis@bakerlaw.com>; Jason Torchinsky
<jtorchinsky@HoltzmanVogel.com>; Andrew Pardue <apardue@HoltzmanVogel.com>
Subject: Nairne, et al. v. Ardoin, et al., No. 22-cv-178
Cou nsel, G ood mor ning. It has come to my attention that there has b een corres ponden ce fr om Plai ntiffs in the ab ove capti oned matter that omits a number o f coun sel for th e State. Please add me, Jaso n Torchinsky, an d Andrew Par due to all future




Counsel,

Good morning.

It has come to my attention that there has been correspondence from Plaintiffs in the above captioned matter that
omits a number of counsel for the State. Please add me, Jason Torchinsky, and Andrew Pardue to all future
correspondence regarding this matter.

Thank you,

Phil Gordon




                                                                                                                                                                                                                                                                     Phil Gordon
                                                                                                                                                                                                                                                                     Partner
                                                                                                                                                                                                                                                                     Haymarket,VA
                                                                                                                                                                                                                                                                       T
                                                                                                                                                                                                                                                                     o 540.341.8808

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be the subject of a separate engagement letter that would define the scope and limits of the desired consultation
services.




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                   Case 3:22-cv-00178-SDD-SDJ                            Document 107-1   07/12/23 Page 11 of 11
complete analysis of all relevant issues or authorities.

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